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            EXHIBIT A
            Declaration of Jane Doe
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8. My husband became a U.S. lawful permanent resident in the 1980s and

   eventually a U.S. citizen.

9. The children and I came to the United States to reunite with my husband

   in 2000.

10.In 2005, I returned to Mexico when my mother passed away. I stayed

   there for a few months, and when I tried to re-enter the United States to

   reunite with my husband and children, I was stopped by immigration

   officials at the border, detained for about half a day, and then sent back to

   Mexico. I was issued a removal order.

11.After being removed to Mexico, I was separated from my family for

   many years. It felt terrible to be apart from them. I was not able to see my

   children during this time. Only my husband was able to visit me in

   Mexico occasionally.

12.Because my husband had U.S. citizenship, he was able to file a petition

   for me to return to the United States. It took a long time for it to be

   approved, and sadly, my husband passed away before I was able to

   actually come back.

13.After my husband passed away the application converted to a widow

   petition.
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14.As part of the process to get my green card, I had to ask that my prior

   removal order be waived, so that I could lawfully reenter the United

   States. That waiver was approved in May 2020.

15.Finally, in 2022, my application for residency was approved, and I was

   able to return to the United States as a lawful permanent resident.

16.Two of my daughters had settled in Iowa for work, so I came to join them

   in Garnavillo. After so much time apart, I am grateful to be near them

   and to be able to spend time with my 17 grandchildren who also live in

   Iowa.

17.I learned about S.F. 2340 from my daughters. I am terrified that I could

   be prosecuted under the law and removed to Mexico. After my removal

   order in 2005, I waited patiently for the government to approve my visa.

   It was devastating to be separated from my husband, children, and

   grandchildren for so many years. I cannot imagine having to go through

   that again, especially now when I have my green card. I would be

   heartbroken; it would change my entire life.

18.I suffer from diabetes and hypertension. Since being in the United States,

   my health has been more stable. I rely on my daughters and

   grandchildren around to watch over me and make sure I get the medical
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   care that I need. If something happened to me, I know they would make

   sure to call for help and get me to a doctor.

19.Because of my health issues, it’s important for me to avoid strong

   emotions or sudden shocks. I can get very sick when my blood sugar gets

   too high or too low or if I experience a lot of stress. Even though the new

   law is not in effect yet, I already feel a lot of fear that I will be

   prosecuted, put in jail, and even separated from my family. I worry that

   my health will suffer because of the anxiety and stress.

20.For these reasons, I do not want my name to become public with this

   lawsuit. I am already under a great amount of stress, and I fear that

   making my name public, and the possibility of prosecution, will only

   make the anxiety and stress worse. I am in great fear of being deported to

   Mexico, where I have nothing and wouldn’t have the support of my

   family. After being separated from my family for nearly twenty years,

   I’m afraid that if my name becomes public, I will be separated from them

   yet again.

21.I also fear that people might threaten or harass me if my name becomes

   public. I never know how people are going to treat me, and whether they

   have bad feelings towards immigrants. If my name becomes public, I

   would be even more worried about harassment and mistreatment.
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                                                      Jane Doe
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                                  CERTIFICATION

      I, Shefali Aurora, declare that I am fluent in the English and Spanish

languages.

      On May 5, 2024, I read the foregoing declaration and orally translated it

faithfully and accurately into Spanish in the presence of the declarant. After I

finished translating the declaration, the declarant verified to me that the contents of

the foregoing declaration are true and accurate.

      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.


      Executed on May 10, 2024 at Des Moines, Iowa.


                                                      05/10/2024

      Shefali Aurora                                 Date
